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 5   Attorneys for Plaintiffs
     MARK SHAPOSHNIKOV and STUDENT JOHN
 6   DOE
 7
 8
                                  UNITED STATES DISTRICT COURT
 9
                                NORTHERN DISTRICT OF CALIFORNIA
10
                                       SAN FRANCISCO DIVISION
11
     MARK SHAPOSHNIKOV, Individually and      )            Case No. C 04 1288 SI
12   as Guardian Ad Litem for STUDENT JOHN    )
     DOE, STUDENT JOHN DOE by and through     )            Plai
                                                              ntiffs’Re questForDi  smissalOf
13   his Guardian Ad Litem,                   )            Defendants Roe 1 -10, and Defendants Roe
                                              )            Parents 1-10, And Order Thereon
14                                Plaintiffs, )
                                              )
15         v.                                 )
                                              )
16   PACIFICA SCHOOL DISTRICT, et al.,        )
                                              )
17                             Defendants. )
                                              )
18
19            TO DEFENDANTS AND THEIR ATTORNEY OF RECORD:
20            Plaintiffs request the court dismiss defendants Roes 1, 2, 3, 4, 5, 6, 7, 8, 9 and 10 and
21   defendants Roe Parents 1, 2, 3, 4, 5, 6, 7, 8, 9 and 10, subject to Magistrate Judge Maria Elena James
22   retaining jurisdiction to enforce the settlement agreement of Roes 1, 2, 3, 4, 6 and 7, and Roe Parents
23   1, 2, 3,4, 6 and 7.
                           Plaintiff's requests the Court to dismiss defendant Ingrid B. Lacy
24                         Middle School.

25   Dated:    August 10, 2005                         ANDERLINI, FINKELSTEIN, EMERICK & SMOOT

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27                                                                  /S/
                                                       PAUL J. SMOOT, Attorney for Plaintiffs
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 1
            Good Cause Appearing, the Courts orders as follows:
 2
            Defendants Roes 1, 2, 3, 4, 5, 6, 7, 8, 9 and 10 and defendants Roe Parents 1, 2, 3, 4, 5, 6,
 3
     7, 8, 9 and 10 are dismissed, subject to Magistrate Judge Maria Elena James retaining jurisdiction
 4
     to enforce the settlement agreement of Roes 1, 2, 3, 4, 6 and 7, and Roe Parents
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                                                                                      1, 2, 3,4, 6 and 7.
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 7                                                        Honorable Susan Illston
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                                                                       NO
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         Deft. Ingrid Ingrid B. Lacy Middle School is dismissed                      N
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